




NO. 07-09-0098-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



JULY 22, 2009

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GREGORY D. JOHNSON,



Appellant



V.



JUSTIN MAYBERRY,

Appellee



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FROM THE 181st DISTRICT COURT OF POTTER COUNTY;



NO. 97,254-B; HONORABLE JOHN B. BOARD, PRESIDING

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ORDER DISMISSING APPEAL

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
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Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.

Appellant has filed a motion to dismiss. &nbsp;Without passing on the merits of the case, we grant the motion pursuant to Texas Rule of Appellate Procedure 42.1(a)(1) and dismiss the appeal. &nbsp;Having dismissed the appeal at appellant’s request, no motion for rehearing will be entertained, and our mandate will issue forthwith.





Brian Quinn

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Chief Justice


